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                 Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                       No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC.,                              Judge Carl J. Nichols

                   Defendant.


AFFIDAVIT OF J. ERIK CONNOLLY IN SUPPORT OF SMARTMATIC’S RULE 56(D)
    RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR PARTIAL
                SUMMARY JUDGMENT ON ACTUAL MALICE

       I, Joel Erik Connolly, hereby declare under penalty of perjury that the following is true

and correct:

       1.      I am an attorney at Benesch, Friedlander, Coplan & Aronoff LLP and counsel for

Smartmatic U.S.A. Corporation, Smartmatic International Holdings B.V., and SGO Corporation

Limited (collectively “Smartmatic”) in this action. As such, I am fully familiar with the facts and

circumstances of the matters stated in this declaration.

       2.      In 2021, Smartmatic initiated lawsuits against OANN, Fox Corporation, Fox News

Network, Newsmax, Rudy Giuliani, Sidney Powell, and Mike Lindell/MyPillow.

Smartmatic’s Requests for Production

       3.      Smartmatic served its First Set of Requests for Production (RFPs) on October 21,

2022. Exhibit A is a true and accurate copy of Smartmatic’s First Set of Requests for Production

Directed at Defendant Herring Networks, Inc. d/b/a One America News Network (“OANN”).




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       4.     OANN served its written responses on December 16, 2022. Exhibit B is a true and

accurate copy of OANN’s Responses and Objections to Plaintiffs’ First Set of Requests for

Production.

       5.     Smartmatic and OANN agreed to produce documents on February 3, March 3, and

April 7, 2023. On February 3, OANN produced 56 documents, which were comprised of news

articles and legal documents about Smartmatic that OANN apparently downloaded from the

internet in late 2022. Then, on March 3, OANN produced 41 documents. Smartmatic informed

OANN that it would seek Court intervention unless OANN agreed to a document production

schedule. Exhibit C is a true and accurate copy of the letter sent from Michael Bloom to Brian

Ledebuhr on March 23, 2023.

       6.     On March 31, 2023, OANN agreed to produce documents on April 28 and May 5,

2023, and finalize productions by May 19, 2023.

       7.     On April 20, 2023, OANN informed Smartmatic that it would not meet the agreed-

upon document production dates. Exhibit D is a true and accurate copy of the letter sent from

Brian W. Ledebuhr to Michael Bloom and Olivia Sullivan on April 20, 2023. Exhibit E is a true

and accurate copy of Olivia Sullivan’s response letter to Brian Ledebuhr on April 20, 2023. The

next day, OANN stated that the earliest it could make its next production was May 24. Exhibit F

is a true and accurate copy of Brian W. Ledebuhr’s reply letter to Michael Bloom and Olivia

Sullivan on April 21, 2023.

       8.     On May 24, OANN produced 186,214 documents.

       9.     OANN’s new counsel entered their appearances in the case on June 2, 2023. New

counsel indicated that OANN could not make another document production until the end of July,




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2023. Smartmatic asked OANN to make a production as soon as possible. Exhibit G is a true and

accurate copy of the letter from Olivia Sullivan to John Edwards on June 26, 2023.

       10.     As of August 28, 2023, OANN had produced 238,500 documents. The documents

included tweets about the weather, marketing blasts unrelated to the alleged disinformation

campaign, and off-topic articles. Examples of these documents are attached hereto as Exhibits H,

I, and J.

       11.     By August 28, Smartmatic had produced over 8.8 million pages of documents,

comprising more than 2 million documents.

       12.     OANN made additional productions between August 28 and December 8. Those

productions brought OANN’s total production to 248,000 documents. To date, Smartmatic has

produced 2.4 million documents.

       13.     On December 8, the day before it filed its motion for partial summary judgment,

OANN produced 5,000 of its own documents and approximately 10,000 documents from third

parties that OANN had subpoenaed.

       14.     On May 5, 2023, before this Court referred discovery disputes to Magistrate Judge

Upadhyaya, Smartmatic and OANN submitted a joint notice in which Smartmatic requested leave

to file a motion to compel production from OANN in response to its first set of RFPs. Exhibit K

is a true and accurate copy of the May 5 Joint Notice.

       15.     Based on counsel’s review to date, it appears OANN has not produced all

responsive documents relating to employment decisions, OANN’s oversight, structure, and

decision-making authority, meetings that occurred regarding Smartmatic and Dominion, and

downloads of OANN applications, subscriptions, and clicks.




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       16.     Prior to May 31, 2023, OANN agreed that Smartmatic could serve additional RFPs

after May 31, 2023. Smartmatic and OANN confirmed the extension in a letter and via e-mail.

Exhibit L is a true and accurate copy of the letter from Brian Ledebuhr to Michael Bloom and

Olivia Sullivan on April 28, 2023. Exhibit M is a true and accurate copy of the e-mail from Brian

Ledebuhr to Olivia Sullivan on May 22, 2023.

       17.     Smartmatic served its second set of requests for production on July 31, 2023.

Exhibit N is a true and accurate copy of Smartmatic’s Second Set of Requests For Production

Directed At Defendant Herring Networks, Inc. d/b/a One America News Network.

       18.     Smartmatic’s second set of requests for production includes several categories of

documents that OANN has not yet produced. Among other things, Smartmatic’s second set of

requests for production seeks the production of documents relating to the distribution of OANN’s

programs, ratings, viewers, and subscriber metrics; OANN’s political donations; and other

lawsuits involving OANN.

OANN’s Identification of Individuals Who May Possess Discoverable Information

       19.     On November 3, 2022, OANN served its Rule 26(a)(1) disclosures. Exhibit O is a

true and accurate copy of OANN’s Rule 26(a) Initial Disclosures. OANN’s Rule 26(a)(1)

disclosures did not disclose producers, bookers, and others involved behind the scenes with the

production of defamatory publications.

       20.     On December 16, 2022, OANN served its answers to Smartmatic’s first set of

interrogatories. Exhibit P is a true and accurate copy of OANN’s Answers and Objections to

Plaintiffs’ First Set of Interrogatories. OANN’s answers did not list producers, bookers, and others

involved behind the scenes with the production of defamatory publications.




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       21.     Smartmatic investigated the identity of potential producers and bookers at OANN

and sent a letter to OANN on February 20, 2023, requesting that OANN identify additional

relevant witnesses. Exhibit Q is a true and accurate copy of the letter sent from Michael Bloom to

Brian W. Ledebuhr on February 20, 2023. Then, in March, at a meet and confer, Smartmatic again

informed OANN that it needed to update its disclosure of relevant witnesses and specifically

identify producers, guest bookers, producers, social media managers, and other witnesses that

work behind the scenes at OANN.

       22.     On March 20, 2023, OANN told Smartmatic that it could not identify any guest

bookers, associate producers, executive producers, show runners, social media personnel, and C-

suite-level executives. Exhibit R is a true and accurate copy of the letter sent from Brian W.

Ledebuhr to Michael Bloom and Olivia Sullivan on March 20, 2023. Smartmatic raised OANN’s

failure to identify relevant witnesses in the parties’ May 5, 2023 Joint Notice of Discovery

Disputes, which was referred to Magistrate Judge Upadhyaya for resolution.

       23.     On September 14, 2023, OANN served amended answers to Smartmatic’s

interrogatories number 1, 2, 3, and 5. The amended answers included over sixty new individuals,

including producers and bookers. Exhibit S is a true and accurate copy of OANN’s Objections

and Supplemental Answers to Plaintiff’s Interrogatory Nos. 1-3, 5 to Herring Networks, Inc. d/b/a

One America News Network.

       24.     On October 13, 2023, after receiving OANN’s supplemental answers to

interrogatories 1, 2, 3, and 5, Smartmatic asked OANN to add the newly identified witnesses as

custodians. Exhibit T is a true and accurate copy of the letter sent from Olivia Sullivan to John

Edwards on October 13, 2023.




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       25.     On November 5, 2023, OANN refused to add the newly disclosed individuals to its

list of custodians. Exhibit U is a true and accurate copy of the letter sent from Carl Butzer to Olivia

Sullivan on November 5, 2023. Smartmatic sent an additional letter to OANN, providing specific

reasons why each witness should be designated as a custodian. Exhibit V is a true and accurate

copy of the letter sent from Olivia Sullivan to Carl Butzer on November 30, 2023. On December 8,

OANN responded and continued to refuse to add any custodians. Exhibit W is a true and accurate

copy of the document Carl Butzer sent to Olivia Sullivan on December 8, 2023. Smartmatic has

previewed this issue with Magistrate Judge Upadhyaya in the parties’ list of disputes that require

resolution.

OANN Broadcasts Mentioning Smartmatic

       26.     Smartmatic’s first set of interrogatories asked OANN to identify any broadcasts

during the relevant period that mentioned Smartmatic. Exhibit X is a true and accurate copy of

Smartmatic’s First Set of Interrogatories Directed at Defendant Herring Networks, Inc. d/b/a One

America News Network.

       27.     OANN’s December 2022 answers to Smartmatic’s first set of interrogatories did

not identify any broadcasts in which Smartmatic was mentioned, except those already identified

in Smartmatic’s Complaint. See Exhibit P.

       28.     On October 6, 2023, OANN supplemented its answers to Interrogatory Nos. 7-20.

Exhibit Y is a true and accurate copy of OANN’s Objections and Supplemental Answers to

Plaintiffs’ Interrogatory Nos. 7-20 to Herring Networks, Inc. d/b/a One America News Network.

OANN’s October amended interrogatory answers identified thirteen broadcasts and republication

of broadcasts that were not identified in Smartmatic’s Complaint.




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       29.     On December 8, 2023, OANN supplemented its answers to Smartmatic’s first set

of interrogatories. Exhibit Z is a true and accurate copy of Defendant’s Second Supplemental

Objections and Answers to Plaintiffs’ First Set of Interrogatories Directed at Herring Networks,

Inc. d/b/a One America News Network. OANN’s supplemental answer identified additional

broadcasts and republications of broadcasts.

OANN Sources of Information

       30.     OANN did not identify any sources for its allegedly defamatory statements in its

initial Rule 26(a)(1) disclosures. See Exhibit O.

       31.     On December 5, 2023, OANN served amended Rule 26(a)(1) disclosures that added

over 80 new individuals, companies, and organizations. The new list includes U.S. and foreign

nationals, several secretaries of state, federal agencies, and several other companies and

organizations. Exhibit AA is a true and accurate copy of OANN’s Amended Rule 26(a) Initial

Disclosures.

       32.     Smartmatic served three interrogatories to obtain the identity of OANN’s sources.

Smartmatic asked for all sources of information for visuals used during the defamatory programs

(interrogatory (ROG) 7), all information provided to OANN regarding alleged election fraud

(ROG 10), and all evidence OANN possessed indicating its defamatory statements were true (ROG

18). See Exhibit X. OANN initially refused to answer each of these interrogatories. See Exhibit

P.

       33.     On October 6, 2023, OANN supplemented its answer to ROG 7 with a 150-row

chart identifying sources, supplemented its answer to ROG 18 by identifying one person’s

investigation of Smartmatic, and added a variety of named and unnamed people and entities to its

answer to ROG 10. See Exhibit Y.



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       34.     Smartmatic started its document production on February 3, 2023. Between

February and December 2023, Smartmatic produced over 2.4 million documents. Smartmatic has

already produced to OANN documents covering over 20 years of its corporate history from 51

different custodians located in the United States and across the world.

Smartmatic’s Discovery Needs

       35.     Smartmatic needs discovery from OANN to establish that OANN acted with actual

malice. Evidence from OANN relates to OANN’s actions, inactions, and state of mind.

       36.     Smartmatic needs documentation from Alex Salvi, Elma Aksalic, Mike Dinow,

John Hines, Samantha Lombibao, Emily Finn, Kara McKinney, Patrick Hussion, Dan Ball,

Stephanie Hamill, Christina Bobb, Pearson Sharp, and Natalie Harp (“OANN hosts”) to determine

(1) when the host decided to cover the election fraud claims, including claims about Smartmatic,

(2) the host’s interaction with guests on the shows prior to airing of the show to evaluate the

credibility of the guest and the claims the guest would make, (3) the investigation conducted by

the host or ordered by the host into the election fraud claims generally and Smartmatic fraud claims

specifically, (4) the host’s awareness, through media reports or direct communications, that the

election fraud claims were meritless as were the claims being made about Smartmatic, and (5) the

host’s familiarity with how viewers and generally public were reacting to the defamatory

statements made on his or her show to show ill-intent. Each of these categories of documents go

directly to establishing that the hosts acted with actual malice.

       37.     With respect to depositions, Smartmatic needs to depose each OANN host to

determine whether he or she knew the statements were false or acted with reckless disregard for

the truth. Among other things, deposition testimony from the hosts will generate evidence

regarding: (1) the investigation they conducted about election fraud generally and Smartmatic



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specifically prior to their programs, (2) the basis for their “beliefs” about the election fraud claims

generally and Smartmatic specifically before, during, and after their programs, (3) their

understanding of the inherent improbability of the election fraud claims generally and Smartmatic

specifically given the security around the election and post-election audits, (4) their attempts, or

lack thereof, to balance their reporting, interview people who would debunk the election fraud

claims, and correct the record after receiving retraction demands, (5) their personal motivations

for embracing the election fraud claims and defaming Smartmatic, and (6) oral conversations that

they had with their production teams, executives, and others about the merits of election fraud

claims generally and Smartmatic claims specifically before, during, and after publishing the

defamatory programs.

       38.     Based on OANN’s September 14 supplemental interrogatory answers, Smartmatic

needs discovery from over fifty producers, bookers, editors, writers, and assistants to establish

actual malice. This list includes, but is not limited to, Chris Boyle, Travis Burgher, Rafael Galindo,

Miguel Guzman, Lauren Lucas, Victoria Buddie, Caitlin Walters, Gienel Agcaoili, Justin Brown,

Cecilia Castro-Duenas, Jacob DeMille, Kyarra Harris, Jasmin Hovey, Hans Hubbard, Caroline

Midkiff, and Khen Provido (the “Production Team”).

       39.     The documentation that Smartmatic needs from the Production Team is akin to

what Smartmatic needs from the OANN hosts. Among other things, Smartmatic needs (1)

communications with the hosts discussing the upcoming content of the show and subject likely to

be covered by the guests appearing on the shows, (2) communications between hosts and others at

OANN regarding the election fraud claims generally and Smartmatic specifically to test whether

they believed what was being aired on the programs and said by the hosts, (3) due diligence they

performed about the guests appearing on the shows with respect to credibility and bias, and (4)



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due diligence they performed about the election fraud claims generally and Smartmatic specifically

to determine if they knew the claims were false based on the investigation or acted with reckless

disregard because third-party sources were describing the claims as baseless.

       40.     Smartmatic also needs to depose members of the Production Team once it obtains

a complete set of document production from them. Smartmatic needs to depose members of the

Production Team to obtain evidence regarding what they knew, what they did not, and what they

should have known before, during, and after the publication of the defamatory programs. Among

other things, at the depositions, Smartmatic will obtain evidence regarding (1) what each of them

believed regarding the election fraud claims generally and Smartmatic claims specifically at the

time of the defamatory programs, (2) oral conversations that they had with each other, the hosts,

and others at OANN about the election fraud claims generally and Smartmatic specifically, (3)

oral conversations they had with or about the guests who appeared on the defamatory programs

about their claims and basis, or lack of basis, for their claims, (4) the investigation they conducted

into the election fraud claims generally and Smartmatic specifically before the defamatory

programs were broadcast, and (5) their attempts, or lack thereof, to prevent the publication of the

defamatory statements about Smartmatic before and after the broadcast of the defamatory

programs.

       41.     Smartmatic also needs discovery from OANN’s executives to further its evidence

of actual malice. OANN has identified three executives overseeing operations, including Robert

Herring, Sr., Charles Herring, and Robert Herring, Jr. (the “executive team”). With respect to

documentation, Smartmatic needs the executive team to produce (1) communications about the

defamatory programs, (2) communications with the hosts and production team regarding coverage

of the election fraud claims generally and Smartmatic claims specifically, (3) instructions to the



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hosts, production teams, and others to endorse the election fraud claims generally and Smartmatic

claims specifically, (4) ratings and viewership information considered by the executives during the

disinformation campaign that created an incentive to promote and endorse the election fraud

claims, (5) advertising and financial records showing an incentive to promote and endorse election

fraud claims, and (6) communications demonstrating that the executive knew or was aware that

the election fraud claims generally and Smartmatic claims specifically were baseless.

       42.     Smartmatic also needs to take depositions of the executive team to obtain evidence

of actual malice. During the depositions, Smartmatic will obtain evidence regarding (1) oral

communications that the executive team had amongst themselves regarding the profitability of

endorsing the election fraud claims generally and Smartmatic fraud claims specifically, (2) oral

communications that the executive team had with hosts and the production teams about endorsing

the election fraud claims generally and Smartmatic fraud claims specifically, (3) the executive

teams knowledge of sources debunking the election fraud claims generally and Smartmatic fraud

claims specifically, (4) the executive teams implementation and monitoring of whether the

defamatory programs complied with generally accepted journalism practices, and (5) the executive

teams knowledge that the defamatory programs were disseminating and endorsing the election

fraud claims generally and Smartmatic fraud claims specifically.

       43.     Discovery to date has uncovered that certain members of the executive team were

in communication with an individual who has already pled guilty to crimes relating to the 2020

election. Exhibit BB is a true and accurate copy of an e-mail from an OANN executive to this

individual on January 8, 2021, as produced by OANN in this litigation. Exhibit CC is a true and

accurate copy of a document attached to that email containing what is identified as passwords of

Smartmatic employees. This document was originally produced in native excel format and



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included multiple tabs of information. For purposes of this filing, Smartmatic converted the

document to PDF and only included information relevant to the computer fraud and abuse

allegations. The contents of this document have not otherwise been altered. Exhibits BB and CC

will be provided to the Court for in camera review.

          44.   The individuals, companies, and organizations that OANN disclosed in its

Amended Rule 26(a) Initial Disclosures as being sources for its defamatory programs and

statements (the “third party sources”) are important sources for discovery to establish actual

malice.

          45.   With respect to documentation, Smartmatic needs to obtain documents from third

parties regarding (1) its communications with OANN, (2) information it provided to OANN to

support the defamatory statements made by them and others during the defamatory programs, and

(3) due diligence, if any, conducted by the third-party sources to support the election fraud claims

generally and Smartmatic fraud claims specifically. Smartmatic likewise needs full and complete

document production from OANN regarding (1) its communication with the third-party sources,

(2) its evaluation of the credibility of the third party sources, and (3) its familiarity with criticism

of the third-party sources from other news organizations and politicians across the political

spectrum. This documentation will help to establish that OANN acted with actual malice because

it knowingly or recklessly relied on unreliable sources.

          46.   With respect to depositions, Smartmatic intends to examine the third-party sources

on a range of topics to establish that (1) they were not reliable source for election fraud claims

generally and Smartmatic fraud claims specifically and (2) OANN knew or recklessly disregard

that the third-party sources were not reliable sources on these topics. The depositions of the third-

party sources will establish these points by probing their lack of firsthand knowledge to support



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their claims, their lack of documentation or evidence to support their claims, and the inconsistency

of their claims with credible sources and common sense.

       47.     Smartmatic will further its evidence that OANN acted with actual malice with

evidence that OANN violated generally accepted journalism practice (assuming that is the

conclusion reached by Smartmatic experts). Among other things, Smartmatic’s expert will likely

evaluate whether OANN verified claims before publishing those claims, whether OANN properly

vetted the credibility of sources before republishing and endorsing their claims, whether OANN

minimized harm in the way that it presented and distributed its claims about the 2020 election

being rigged, whether OANN sought out sources contrary to those put on air and published, and

whether OANN provided Smartmatic and other subjects of its coverage an opportunity to respond

to those allegations. Smartmatic needs discovery into each of these facts (document production

and depositions) so that its expert can evaluate whether OANN complied with generally accepted

journalism practices.

Smartmatic’s Diligence in Pursuing Discovery

       48.     OANN’s total document production prior to December 8, 2023 was less than

240,000 documents, failed to include dozens of relevant custodians, and failed to include

documents responsive to multiple categories of relevant material. The production includes articles

and materials that OANN’s attorneys located after-the-fact.

       49.     In Smartmatic’s litigation against Newsmax over the publication of similar

defamatory statements, the defendant has produced over 3 times more documents than OANN.

       50.     Starting in March 2023, and continuing through December 2023, Smartmatic

explained to OANN that depositions could not begin until document production was completed




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and OANN identified relevant witnesses. Below are examples of statements Smartmatic made to

OANN in letters on this issue.

              a) “Smartmatic rejects OANN’s assertion that the time pressure is “manufactured”

                  based on the fact discovery deadline of December 8, 2023. After six months of

                  discovery, OANN has produced to Smartmatic a total [of] 97 documents and

                  has taken two months to consider just one set of search terms. At this rate, the

                  parties will not be in a position to complete depositions by the court-ordered

                  deadline. While we would prefer not to bring your continued delays to the

                  Court, we will do so if we cannot agree on a reasonable schedule that allows us

                  to progress discovery and adhere to the Court’s deadline.” A true and accurate

                  copy of the letter from Olivia Sullivan to Brian Ledebuhr on April 20, 2023 is

                  attached as Exhibit DD.

              b) Smartmatic proposed a production schedule after OANN refused to engage in

                  discussions about document production. Smartmatic stated, “Smartmatic

                  believes that this schedule, including the dates proposed above, are necessary

                  to ensure that the parties will have sufficient time to comply with the fact

                  discovery deadlines set by the Court.” A true and accurate copy of the letter

                  from Michael Bloom to Jeanah Park on March 31, 2023 is attached as Exhibit

                  EE.

              c) “[I]n the interest of complying with the Court’s fact discovery deadlines, the

                  parties must be in a position to identify and negotiate additional custodians at a

                  date earlier than May 19, 2023. If the parties do not engage in such discussions

                  until that time, they may not be able to commence depositions in a timely



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                   manner.” See Exhibit EE (March 31, 2023 letter from Michael Bloom to

                   Jeanah Park).

               d) “Smartmatic further proposes that, following April 28, 2023, the parties each

                   make supplemental productions on May 12, 2023, and every two weeks

                   thereafter until document production is complete. The parties in Smartmatic’s

                   lawsuit against Newsmax have followed the same protocol to ensure that fact

                   discovery is completed in a timely manner. Smartmatic believes that this

                   protocol will help keep discovery on track in this case as well.” Attached as

                   Exhibit FF is a true and correct copy of the March 29, 2023 Letter from

                   Michael Bloom to Brian Ledebuhr.

               e) “As fact discovery closes in December 2023 pursuant to the Court’s current

                   scheduling order, Smartmatic urged OANN’s counsel to make additional

                   productions sooner.” See Exhibit G (June 26, 2023 Letter from Olivia Sullivan

                   to John Edwards).

       51.     Smartmatic filed its Motion to Issue a Protective Order, Stay Depositions, and

Amend Scheduling Order on September 18, 2023. (Dkt. 96). At this time, OANN had only

produced 238,000 documents. OANN recently amended its interrogatory answers to include over

sixty new individuals, and OANN was not willing to add custodians based on its amended answers.

       52.     OANN was still identifying new sources and witnesses as late as December 5, three

days before the original close of fact discovery. See Exhibit AA.

       53.     In preparing the Joint Status Report (Dkt. 147), OANN proposed that because of

the number of pending motions, the parties should ask for additional pages beyond the ten pages

allotted by the Court.



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OANN Productions and Other Conduct

       54.       OANN did not identify Glenn Chong until December 5, 2023. See Exhibit AA.

There appear to be only two documents that reference Mr. Chong in OANN’s production, and

Smartmatic has not had the opportunity to subpoena him for additional documents.

       55.       Smartmatic was made aware of OANN’s new counsel on May 31, 2023. That same

day, OANN served over 1,500 requests for production on Smartmatic. Exhibit GG is a true and

accurate copy of OANN’s Second Set of Requests for Production to Plaintiff SGO Corporation

Limited. OANN served separate, identical requests on the other two plaintiff entities.

       56.       OANN and its counsel concealed documents produced by third parties in response

to subpoenas. From April through September, OANN issued subpoenas to ten different entities,

including Michigan Secretary of State, Cook County, Illinois, North Carolina Secretary of State,

Georgia Tech, Nevada Secretary of State, Edelman, Arizona Secretary of State, California

Secretary of State, Chicago Board of Elections, and Wisconsin Election Commission. OANN did

not produce any of the documents it received from these ten entities until December 8, the day it

filed its motion for partial summary judgment. OANN represented to Smartmatic that it received

the productions in September, October, and November, and received one on December 1. Attached

hereto as Exhibit HH is a true and accurate copy of an email from John Edwards to Olivia Sullivan

on December 15, 2023.

       57.       OANN had previously taken the position that Smartmatic should not take five days

to produce documents from third parties and insisted that Smartmatic produce documents from

third parties within 48 hours. See Exhibit K.

       58.       OANN added 67 new individuals to its interrogatory answers in September 2023.

See Exhibit S.



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       59.    Smartmatic’s interrogatory No. 17, issued on October 21, 2022, asked OANN to

“Identify every instance where a OANN ON-AIR PERSONALITY referenced SMARTMATIC,

whether in writing or in a broadcast.” See Exhibit X. In response, OANN only identified the

publications Smartmatic included in its Complaint. See Exhibit P.. On October 6, OANN

identified additional broadcasts. See Exhibit Y. It was not until December 8, 2023, that OANN

provided a full list of broadcasts in its supplemented its interrogatory answer. This identified

additional publications of the defamatory broadcasts. See Exhibit Z. The disclosure of broadcasts

and republication can reflect on the intentionality of the disinformation campaign and informs

damages.

                                        *      *       *




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